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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA FILED UNDER SEAL
“Ve POST-INDICTMENT
RESTRAINING ORDER
BRIAN KOLFAGE,
STEPHEN BANNON, 20 Cr. 412 (AT)
ANDREW BADOLATO, and
TIMOTHY SHEA

Defendants.

 

 

Upon the application of AUDREY STRAUSS, Acting United States Attorney for the
Southern District of New York, pursuant to Title 18, United States Code, Sections 981, 982 and
Title 21, United States Code, Section 853, based on the Affidavit of U.S. Postal Inspector Troy
Pittenger, United States Postal Inspection Service, executed on August 24, 2020, and upon a
finding of probable cause, that the Subject Property, defined below, are subject to restraint and
forfeiture as proceeds of a conspiracy to commit wire fraud, in violation of Title 18, United
States Code, Section 1343, and/or property involved in money laundering, in violation of Title
18, United States Code, § 1956,

IT IS HEREBY ORDERED that BRIAN KOLFAGE, STEPHEN BANNON,
ANDREW BADOLATO, and TIMOTHY SHEA (the “Defendants”) and all attorneys, agents,
and employees, and anyone acting on the behalf of Defendants, and all persons or entities in
active concert or participation with any of the above, and all persons or entities having actual
knowledge of this Order, shall not take any action prohibited by this Order.

IT IS FURTHER ORDERED that the Defendants, and all attorneys, agents, and
employees, and anyone acting on the behalf of Defendants, and all persons or entities in active
concert or participation with any of the above, and all persons or entities having actual

knowledge of this Order, including any relevant financial institutions, shall not, directly or

 
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indirectly, transfer, sell, assign, pledge, hypothecate, encumber, or dispose of in any manner;
cause to be transferred, sold, assigned, pledged, hypothecated, encumbered, disposed of in any
manner; or take, or cause to be taken, any action that would have the effect of depreciating,
damaging, or in any way diminishing the value of property or other interests belonging to, or
owed to, or controlled in whole or in part by the defendant, which property or other interests are
subject to forfeiture. The property and other interests hereby restrained include, but are not
limited to, the following:

a. Any and all funds contained in FirstBank account number 2021299187,
held in the name of WeBuildthe Wall, Inc.;

b. Any and all funds contained in Capital One account number 3027095 806,
held in the name of WeBuildthe Wall, Inc.;

c. Any and all funds contained in Bank First Financial Services account
number 18038943, held in the name of WeBuildthe Wall, Inc.;

d. Any and all funds contained in Wells Fargo Bank account number
3536261401, held in the name of Citizens of the American Republic;

e. The personal property described as a 2019 Jupiter Marine boat named
“Warfighter” with hull identification number MEV41424A819, and

f. The property described as a 2018 Land Rover Range Rover with vehicle
identification number SALGSSRE9JA500442.

(a through f, collectively, the “Subject Property”).

IT IS FURTHER ORDERED that any financial institution holding any of the
Subject Property must, upon notice of this Order, immediately terminate all transfers out
of the those accounts included in the Subject Property and permit transfers into these
accounts, until such time as notified by the Government in writing, and shall not release
any of the Subject Property to anyone, including individuals or entities who would

receive automatic withdrawals or charge-backs in the absence of this restraint.

 
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IT 1S FURTHER ORDERED that the United States Attorney’s Office for the Southern
District of New York, in its discretion, is authorized to direct the release of assets restrained
herein.

IT IS FURTHER ORDERED Any person or entity claiming an interest in the assets
listed in this Order may contact the following Assistant United States Attorney to clarify the
scope of the Order: Assistant United States Attorney Nicolas Roos, Telephone Number (212)
637-2421. Those persons or entities will not be deemed in violation of this Order for any
transactions undertaken upon written approval made by Assistant United States Attorney Roos.

IT IS FURTHER ORDERED that this Restraming Order shall be binding upon the
defendant, the attorneys, agents, and employees, and all persons in active concert or participation
with any of the above, or any other person having actual knowledge of this Order, and that this
Order shall remain in effect until further order of this Court;

IT IS FURTHER ORDERED that this Restraining Order and all papers submitted
therewith shall be maintained under seal until further order of the Comt, except that the United
States Attorney's Office or its designee(s) may provide copies of this Order to any person in
order to facilitate the execution of this Restraining Order, including any relevant financial
institutions and/or the defendant; and

IT IS FURTHER ORDERED that service of a copy of this Order shall be made on the
defendant or his attorney(s) by regular mail.

Dated: New York, New York

August 24, 2020
SO ORDERED:

ANALISA TORRES
United States District Judge

 
